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 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                          ) Case No.: CR.S. 07-056 LKK
10   United States of America,            )
                                          ) ORDER
11                Plaintiff,              )
                                          ) Court: Hon. Lawrence K. Karlton
12          vs.                           ) Date:   October 10, 2007
                                          ) Time:   9:30 a.m.
13                                        )
     Nathosha Saunders, et.al.            )
14
                  Defendants              )
15

16

17
            Following a status conference on September 11, 2007, the
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      Court granted defendants’ unopposed request for a continuance
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     of the status conference until October 10, 2007, at 9:30 a.m.,
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     in order to permit further discussion of potential terms of a
21
     plea agreement, and orally excluded time under the Speedy Trial
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     Act.    As was agreed to by the parties, time for trial under the
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     Speedy Trial Act is excluded between August 14, 2007, and
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25
     ///
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     ///

28   ///




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 3
     October 10, 2007, pursuant to 18 U.S.C. §3161(h)(8)(A) &

 4   (B)(iv), Local Code T-4.

 5   IT IS SO ORDERED.

 6
     DATED: October 3, 2007
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